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IN THE UNITED STATES DISTRICT COURT FOR THE
MIDDLE DISTRICT OF GEORGIA

MACON DIVISION
UNITED STATES OF AMERICA > CRIMINAL NO. 5:22-CR-40-MTT
v. :
: SUPERSEDING INFORMATION

ANTONIO MASON,

VIOLATIONS:

Defendant.
21 U.S.C. § 841(a)q)

21 U.S.C. § 841(b)(1\(C)

THE UNITED STATES ATTORNEY CHARGES:

COUNT ONE
(POSSESSION OF METHAMPHETAMINE WITH INTENT TO DISTRIBUTE)

That on or about August 10, 2021, in the Macon Division of the Middle District of Georgia,

and elsewhere, the defendant,

ANTONIO MASON

did knowingly and intentionally possess a Schedule I controlled substance, with the intent to
distribute said substance, to wit: an amount of methamphetamine, in violation of Title 21 United
States Code, Sections 841 (a)(1) and 841(b)(1)(C).

PETER D. LEARY
UNITED STATES ATTORNEY

By: =i
“ ALEX KALIM
ASSISTANT UNITED STATES ATTORNEY

